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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO
                                  ______________________

UNITED STATES OF AMERICA,

               Plaintiff,

       vs.                                                           No. 1:19-cr-0754-KWR

JOSHUA CORDOVA,

               Defendant.

                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on Defendant’s Motion to Compel the

Government to Produce Rule 16 and Brady-Giglio Discovery, filed April 9, 2020 (Doc. 41). This

motion was fully briefed on August 12, 2020 and is ready for decision.

       Defendant sought fourteen separate items of discovery in his motion pursuant to Fed. R.

Crim. P. 16, Brady v. Maryland, 373 U.S. 83, 87 (1963) and Giglio v. U.S., 405 U.S. 150, 153

(1972). Doc. 41. The Government responded and provided some requested discovery, but items

2, 3, 4, 6, 9, and 12 appear to still be at issue. See Doc. 56 at 2-4 (listing outstanding discovery

requests). Having reviewed the parties’ briefs and the applicable law, the Court grants in part and

denies in part Defendant’s motion as described below.

                                        BACKGROUND

       Defendant worked at Sandia National Labs and is alleged to have fraudulently purchased

personal items on his work-provided credit card, claiming the purchases were for authorized work

projects. A grand jury returned a 63-count superseding indictment asserting 15 counts of mail fraud

in violation of 18 U.S.C. § 1341 and approximately 48 counts of theft and conversion of Federal

funds in violation of 18 U.S.C. § 641. Doc. 28.
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       Defendant worked as an operational trainer and was given a procurement card to make

purchases for authorized work-related projects. Each purchase was itemized and entered into

Sandia’s electronic procurement database, where it was associated with a specific governmental

customer and project, and tracked for auditing purpose. Defendant and his team made purchases

for the projects. The majority of the 1,500 purchases were for authorized work-related projects.

       Defendant admits that he purchased some personal items using Sandia money. However,

he alleges that some of the alleged fraudulent purchases were for authorized work-approved

purposes. He seeks discovery to show that some of the items were in fact for work-approved

purposes.

       Defendant alleges that his administrative assistant mislabeled some purchases. He alleges

he is being charged for some purchases simply because the entry was mislabeled, although the

purchase was in fact for authorized work projects.

       Defendant filed a motion to compel, requesting 14 separate items of discovery. The

Government responded and provided some discovery. In his reply, Defendant asserts that the

following requested discovery remains pending:

       Item 2: any documents, memorandums, email correspondence, or letters of explanation

discussing disciplinary or corrective actions taken against any of Mr. Cordova’s supervisors,

including but not limited to Jamieson “Jake” Deuel, Robin Thompson, and Patricia Herbert, in

relation to Mr. Cordova’s alleged misconduct, which is the subject matter of this case.

       Item 3: Documents identifying Jake Deuel’s, Robin Thompson’s, and Patricia Herbert’s

job titles and job descriptions, including any changes or modifications made from August 1, 2014,

through the present.
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       Item 4: Any reports, documents, memorandums, or email correspondence related to the

work scope, oversight responsibilities, and identities of Sandia’s “Procurement card Self-

assessment Team” from August 1, 2014 through October 2018.

       Item 6 (partially produced): All proposals and work scope authorizations made by Sandia’s

customers related to the projects and tasks to which Mr. Cordova was assigned from August 1,

2014, through October 2018 as identified in Exhibit 3.

       Item 9 (partially produced): All policies or guidelines reflecting Mr. Cordova’s Sandia’s

procurement or purchase card exceptions and allow-abilities from August 1, 2014, through

October 2018.

       Item 12: All documents, memorandums, email correspondence, or letters of explanation

discussing the changes or amendments or proposed changes or amendments to policies related to

the issuance, authorization, and use of Sandia’s procurement or purchase cards from August 1,

2014, through the present.

Doc. 56. The motion was fully briefed on August 12, 2020 and is ready for decision.

                                         DISCUSSION

I.     Relevant Law.

       The Brady rule, Rule 16, and the Jencks govern the discovery to which the defendant is

entitled. United States v. Griebel, 312 Fed. Appx. 93, 95-96 (10th Cir. 2008) (noting the

“[G]overnment’s discovery obligations [ ] are defined by Rule 16, Brady, Giglio and the Jencks

Act” and stating the defendant’s request to expand his discovery rights beyond those three sources

was unsupported by the law).

       A.       Rule 16

       Rule 16(a)(1)(E) of the Federal Rules of Criminal Procedure provides:
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       (E) Documents and Objects. Upon a defendant’s request, the government must
       permit the defendant to inspect and to copy or photograph books, papers,
       documents, data, photographs, tangible objects, buildings or places, or copies or
       portions of any of these items, if the item is within the government’s possession,
       custody, or control and:
       (i) the item is material to preparing the defense;
       (ii) the government intends to use the item it its case-in-chief at trial; or
       (iii) the item was obtained from or belongs to the defendant.
Fed. R. Crim. P. 16(a)(1)(E). Although Rule 16’s language is permissive, it does not authorize “a

blanket request to see the prosecution’s file,” and a defendant may not use the rule to engage in a

“fishing expedition.” United States v. Maranzino, 860 F.2d 981, 985-86 (10th Cir. 1988) (citing

Jencks v. United States, 353 U.S. 657, 667 (1957)). A defendant must make a prima facie showing

of materiality before he is entitled to obtain requested discovery. See United States v. Simpson,

845 F.3d 1039, 1056 (10th Cir. 2017). “Neither a general description of the information sought

nor conclusory allegations of materiality suffice; a defendant must present facts which would tend

to show that the Government is in possession of information helpful to the defense.” Id. Rule 16

also does not obligate the United States to “take action to discover information which it does not

possess.” United States v. Badonie, 2005 WL 2312480, at *2 (D.N.M. Aug. 29, 2005) (quoting

United States v. Tierney, 947 F.2d 854, 864 (8th Cir. 1991)) (internal quotation marks omitted).

       Evidence is “material” under Rule 16 if “there is a strong indication that it will play an

important role in uncovering admissible evidence, aiding witness preparation, ... or assisting

impeachment or rebuttal.” United States v. Graham, 83 F.3d 1466, 1474 (D.C. Cir. 1996) (internal

quotation marks omitted) (quoting United States v. Lloyd, 992 F.2d 348, 351 (D.C. Cir. 1993))

(internal quotation marks omitted). “Although the materiality standard is not a heavy burden, the

Government need disclose rule 16 material only if it enables the defendant significantly to alter

the quantum of proof in his favor.” United States v. Graham, 83 F.3d at 1474 (alterations, citations,

and internal quotation marks omitted).
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       B.        Brady

       The Brady doctrine was established by the Supreme Court in Brady v. Maryland, 373 U.S.

83, 87 (1963):

     We now hold that the suppression by the prosecution of evidence favorable to an
     accused upon request violates due process where the evidence is material either to
     guilt or to punishment, irrespective of the good faith or bad faith of the prosecution.
The United States Supreme Court in Kyles v. Whitley, 514 U.S. 419 (1995), described the

responsibility of the government in dealing with Brady:

        But the prosecution, which alone can know what is undisclosed, must be assigned
        the responsibility to gauge the likely net effect of all such evidence and make
        disclosure when the point of “reasonable provability” is reached. This in turn means
        that the individual prosecutor has a duty to learn of any favorable evidence known
        to the others acting on the government’s behalf in the case, including the police.
        But whether the prosecution succeeds or fails in meeting this obligation, the
        prosecution’s responsibility for failing to disclose known, favorable evidence rising
        to a material level of important is inescapable.
Id. at 437-38. Brady also extends to evidence affecting witness credibility. See Giglio v. United

States, 405 U.S. 150, 154 (1972).

       The government is not required to produce evidence simply because it might be

exculpatory. United States v. Agurs, 427 U.S. 97, 110, n. 16 (1976) (“It is not to say that the State

has an obligation to communicate preliminary, challenged, or speculative information.”); United

States v. Fleming, F.3d 1325, 1331 (10th Cir. 1994) (noting “[t]he mere possibility that evidence

is exculpatory does not satisfy the constitutional materiality standard.”). Moreover, the Court does

not have a duty to directly supervise the government’s disclosure of Brady information, as such

supervision would necessitate a complete review of all material gathered during the government’s

investigation. See United States v. McVeigh, 923 F. Supp. 1310, 1313 (D. Colo. 1996). Rather, the

duty to determine what disclosure is required under Brady rests with the prosecution. See Bank v.

Reynolds, 54 F.3d 1508, 1517 (10th Cir. 1995); McVeigh, 923 F. Supp. at 1313. The Court should

rely on the government’s representations of its compliance with Brady unless the defendant shows
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cause to question them and the materiality of the evidence sought. See McVeigh, 923 F. Supp. at

1314; see also Banks v. Dretke, 540 U.S. 668, 696 (2004) (“[o]rdinarily, we presume that public

officials have properly discharged their official duties.”). Pennsylvania v. Ritchie, 480 U.S. 39, 56

(1987) (noting that where a defendant only makes a general request for exculpatory material under

Brady, the government decides which information must be disclosed).

II.         Items 2, 3, 4: Discovery related to Defendant’s Supervisors and the Procurement

Card Team.

            Under Item 2, Defendant seeks “any documents, memorandums, email correspondence, or

letters of explanation discussing disciplinary or corrective actions taken against any of Mr.

Cordova’s supervisors, including but not limited to Jamieson “Jake” Deuel, Robin Thompson, and

Patricia Herbert, in relation to Mr. Cordova’s alleged misconduct, which is the subject matter of

this case.” The Government represents that it will produce impeachment evidence of witness’

disciplinary or corrective action taken in relation to their failure to properly supervise Defendant.

Doc. 42. However, the Government asserts that it does not yet know who will serve as witnesses

at trial.

            Nevertheless, the Court finds Item 2 is material under Rule 16 nbecause it may show that

a purchase was legitimate but merely not reported correctly. Defendant suggests that his failure

to adequately track and account for some expenses were the result of a high workload and others

inputting data incorrectly. Defendant allegedly reported to his supervisors that he was not able to

adequately report his expenses. He alleges his supervisors and the procurement team failed to

support him and assist him in his expense reporting obligations. Reprimands for failure to

adequately support Defendant in accurately reporting his expense may be material under Rule 16.

Therefore, Defendant’s request under Item 2 is granted.
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       Under Item 3, Defendant requests “Documents identifying Jake Deuel’s, Robin

Thompson’s, and Patricia Herbert’s job titles and job descriptions, including any changes or

modifications made from August 1, 2014, through the present.” This request is overbroad and

would produce irrelevant or immaterial information.        Moreover, any relevant, material or

exculpatory information would likely already be produced under Item 2. It is unclear how Item 3

would aid Defendant in uncovering admissible evidence or assist impeachment or rebuttal.

Therefore, Defendant’s request under Item 3 is denied.

       Under Item 4, Defendant seeks “Any reports, documents, memorandums, or email

correspondence related to the work scope, oversight responsibilities, and identities of Sandia’s

“Procurement card Self-assessment Team” from August 1, 2014 through October 2018.” The

Court finds that Item 4 is overbroad and would produce immaterial discovery. Defendant requests

all emails and correspondence relating to the work scope and authorization of the procurement

card team. The principles that govern discovery in criminal cases do not authorize a defendant to

conduct a “fishing expedition,” i.e., a broad, generalized search for information in the hopes that

the defendant might uncover something helpful to his case. See United States v. Mayes, 917 F.2d

457, 461 (10th Cir. 1990) (noting the Constitution “does not grant criminal defendants the right to

embark on a broad or blind fishing expedition among documents possessed by the Government”)

(citation and internal quotation marks omitted). This is extremely broad and could include a great

deal of irrelevant and sensitive information.

       There is no requirement that “the prosecution make a complete accounting to the defense

of all evidence in its possession,” United States v. Baxter, 492 F.2d 150, 173 (9th Cir. 1973), and

Brady does not require the prosecution to divulge every possible shred of evidence that could

conceivably benefit the defendant, Smith v. Secretary of New Mexico Department of Corrections,
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50 F.3d 801, 823-24 (10th Cir. 1995). Moreover, the accused has no right to rummage through the

government’s files, United States v. Williams, 580 F.2d 578, 585 (D.C. Cir. 1978), which is

essentially what Defendant is asking to do here. Brady does demand an “open file” policy. See

Kyles v. Whitley, 514 U.S. 419, 436-37 (1995).

       Moreover, it is unclear how such a broad request under Item 4 would help Defendant

uncover documents relevant to his claim that he failed to adequately document some expenses. As

the Government explains, negligence of the victim is not a defense to the crime charged. Doc. 42

at 13. It is undisputed that the employees were broadly trusted to use credit cards for authorized

purposes with little oversight. It is unclear how this material would show that his purchases were

legitimate but merely mislabeled, given the other items of discovery Defendant has already

received. Some of the requested discovery under Item 4 will likely already be produced under

Item 9, as explained below. Therefore, Defendant’s request under Item 4 is denied.

       The denial of his broad request under Item 4 does not prevent him from showing that certain

purchases were in fact legitimate but merely mislabeled. Moreover, the Government remains

obligated to produce discovery on any corrective action or discipline for any witness.

III.   Item 6.

       As to Item 6, Defendant requested “[a]ll proposals and work scope authorizations made by

Sandia’s customers related to the projects and tasks to which Mr. Cordova was assigned from

August 1, 2014, through October 2018 as identified in Exhibit 3.” The Government argues that

this request is overbroad. In a reply brief, Defendant narrowed his request to the 29 projects in

which he contests that the purchases were fraudulent. The Court agrees with Defendant that this

narrowed request is material because it could assist him in showing that some purchases were

legitimately related to a project or client request. The Court agrees with Defendant that in order
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to prove that the disputed purchases related to 29 projects were legitimate, he needs the work

proposals or authorizations. The Court will grant his narrowed request in his reply brief. Doc. 56

at 6.

IV.     Item 9.

        As to Item 9, Defendant requested production of “all policies or guidelines reflecting Mr.

Cordova’s Sandia’s procurement or purchase card exceptions and allow-abilities from August 1,

2014 through October 2018.” The Government responded by producing the guidelines and

policies.    Additionally, the Government produced documents regarding specific exceptions

granted to Defendant as well as the denial of his request in one instance.

        In a reply brief, Defendant requested disclosure of Defendant’s procurement or purchase

card exceptions and allow-abilities for the time frame requested. He argues that discovery related

to his purchasing authority – which was broad – is necessary to show that certain purchases were

lawful and not outside his purchasing ability.

        The Government responded by producing a PDF document that includes Defendant’s

requests and his supervisors’ approvals for procurement card exceptions for “attractive property”

and certain spending limits to complete customer projects. However, the document is incomplete.

It includes one instance where the reason for rejecting an exemption was cut off. Doc. 58-3 at 2.

Moreover, it references previous instances in which Defendant was granted purchase exceptions

but does not provide the exception itself.

        Defendant requests that the Government produce a complete copy of his exemptions,

including (1) Ms. Herbert’s full response (Doc. 58-3 at 2); (2) associated documents indicating his

previously approved exemption in 2016 (Doc. 58-3 at 4); (3) his prior email approval (Doc. 58-3

at 8); (4) all additional exceptions and allow-abilities from August 1, 2014 through October 2018.
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       The Court finds that these requests are material and could lead to discovery showing that

certain purchases were not outside his purchasing ability.         Moreover, it appears that the

Government does not object. Therefore, Defendant’s request in his reply brief under Item 9 is

granted. Doc. 56 at 8-9.

V.     Item 12

       As to Item 12, Defendant requested “All documents, memorandums, email

correspondence, or letters of explanation discussing the changes or amendments or proposed

changes or amendments to policies related to the issuance, authorization, and use of Sandia’s

procurement or purchase cards from August 1, 2014, through the present.” In response, the

Government produced SNL’s Procurement card policy.

       Defendant acknowledges that certain purchases were shipped to his house but asserts that

was allowed under SNL’s procurement card policy. Defendant argues that the Government is

labeling certain purchases as illegal in part because they were shipped to his home, when that was

allowed under Sandia policy. Defendant argues that Item 12 is material to his defense and

exculpatory “since the government intends to rely on evidence he shipped some items to his home

address or other locations as evidence of guilt.” Doc. 56 at 10.

       However, as the Government argues, it is unclear how internal documents, memoranda,

and correspondence regarding those policies are material to his case. Defendant apparently has

what he wants – a policy stating that shipping purchases to his home was authorized.

       Therefore, the Court will deny Defendant’s request under Item 12.

                                        CONCLUSION

       The Government responded to Defendant’s Motion to Compel (Doc. 41) and provided

much of Defendant’s requested discovery. The Court grants in part and denies in part Defendant’s
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remaining requests for discovery in his reply brief. Defendant’s request in his reply for discovery

under items 2, 6, and 9 is granted. His request for discovery under items 3, 4, and 12 is denied.

       IT IS SO ORDERED.
